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                                                                                      E-filed: September 14,2017
              1   Bob L. Olson (NV Bar No. 3783)
                  Justin L. Carley (NV Bar No. 9994)
              2   Charles E. Gianelloni (NV Bar No. 12747)
                  V.R. Bohman (NV BarNo. 13075)
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              6           jcarley@swalw.com
                          cgianelloni @ swlaw. com
              7           vbohman@swlaw.com
                  Attorneys þr Half Dental Franchise, LLC, HDM,
              8   LLC, Chayse Myers, and Matt Baker

              9
                                             UNITED STATES BANKRUPTCY COURT
             10
                                                       DISTRICT OF NEVADA
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       !     t2   In re                                            Case   No. l6-16602-btb
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ã I ßgás          BRANDON MICHAEL D'HAENENS.
                                                                   Chapter 7

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 U J 9ÞÂr
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                                                                   AMENDED STIPULATION TO CONTINUE
             15                            Debtor.                 HEARING DATE ON CHAPTER 7
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c.)t :>                                                            TRUSTEE'S MOTION TO APPROVE
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V)' ;'       t6                                                    COMPROMISE
    o
       f
             t7                                                    Old Hearing Date: September 28,2017
       3                                                           Old Hearing Time: L1:00 a.m.
             18
                                                                   New Hearing Date: October 2412017
             l9                                                    New Hearing Time: 1:30 p.m.

             20

             2t
                             THIS STIPULATION is entered into by and between Half Dental Franchise, LLC
             22
                  Dental"), HDM, LLC ("HDM"), Chayse Myers ("Chayse Myers"), and Matt Baker ("Matt
             23
                  Baker" (collectively, the "Cre<|iþrs") and Shelley D. Krohn, Chapter 7 Trustee ("Trustee" and
             24
                  together with Creditors, the "Parties") based on the following:
             25
                             WHEREAS, on August 28, 2017, Trustee filed a Motion to Approve Compromise
             26
                  Pursuant to Federal Rule of Banlcruptcy Procedure 9019 (the "Meton") [ECF No. 80].
             27
                             WHEREAS, a hearing on the Motion is currently set for September 28,2017 at 11:00 a.m.
             28



                  4849-6835-2591
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                I
                                WHEREAS, the Parties agree to continue the hearing on the Motion to October 24,2017
                2
                    at 1:00 p.m..
                J
                               NOW, THEREFORE, based on the foregoing and subject to Court approval, the Parties
                4
                    agree as follows:
                5
                                1.        That the hearing on the Motion shall be continued from September 28, 2017 at
                6
                    11:00 a.m.to October 24,2017 at 1:00 p.m.;
                7
                               2.         That the deadline to oppose the Motion shall be October 10,20171'
                8
                               3.         That the deadline for Trustee to file her reply to any opposition and in support of
                9
                    the Motion shall be October 17,2017;
               10
                               4.         That the hearing currently set for September 28,2017 at 11:00 a.m. for the Motion
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        o           shall be vacated; and
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        f                      5.         That the Court may enter an Ord
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                    as   Exhibit     1.
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                               DATED this 14th day of September 2017
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(t)   l?3      I6   SNELL & V/ILMER I.I.p                                   NELSON & HOUMAND PC
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        Ë      t7
                        /s/ Charles E. Gianelloni                                   lsl Jacob L. Houmand
               l8   Bob L. Olson (NV Bar No. 3783)                          Victoria L. Nelson (NV Bar No. 5436)
                    Justin L. Carley (NV Bar No. 9994)                      Jacob L. Houmand (NV Bar No. 12781)
               t9   Charles E. Gianelloni Q.{V Bar No. 12747)               Kyle J. Ortiz (NV Bar No. 14252)
                    V.R. Bohman (NV Bar No. 13075)                          1180 North Town Center Drive, Suite 100
               20   3883 Howard Hughes Parkway, Suite 1100                  Las Vegas, NV 89144
                    Las Vegas, NV 89169                                     Telephone: (7 02) 7 20 -337 0
               2l   Telephone : (7 02) 7 84-5200                            Facsimile: (702) 720-337 I
                    Facsimile: (702) 784-5252
               22                                                           Attorneys   for Shelley D. Krohn, Chapter 7
                    Attorneys for Half Dental Franchise, LLC,               Trustee
               23   HDM, LL C, Chayse Myers, and Matt Baker

               24

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                    4849-6835-2591
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                           Case 16-16602-btb        Doc 90    Entered 09/14/17 12:55:31     Page 4 of 5



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                    J

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                    6   Bob L. Olson (ftrV Bar No. 3783)
                        Justin L. Carley (NV Bar No. 9994)
                    7   Charles E. Gianelloni (NV Bar No. 12747)
                        V.R. Bohman (NV BarNo. 13075)
                    8   SNELL & WILMER L.L.P.
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                   11           jcarley@swalw.com
              :o                cgianelloni@swlaw. com
              b
                   t2           vbohman@swlaw.com
    !J)
    a)l is              Attorneysþr Half Dental Franchise, LLC, HDM,
    Él        ?ã   13   LLC, Chayse Myers, and Matt Baker
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                                                   UNITED STATES BANKRUPTCY COURT
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V)' ;'o            t6
                                                             DISTRICT OF NEVADA
              :É
                   t7   In re                                           Case   No. l6-16602-btb
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                   18                                                   Chapter 7
                        BRANDON MICHAEL D'HAENENS.
                   t9
                                                                        ORDER GRANTING STIPULATION TO
                   20                           Debtor                  CONTINUE HEARING DATE ON
                                                                        7 TRUSTEE'S MOTION TO APPROVE
                   2t                                                   COMPROMISE
                   22                                                   Old Hearing Date: September 2812017
                                                                        Old Hearing Time: 11,:00 a.m.
                   23
                                                                        New Hearing Date: October 2412017
                   24                                                   New Hearing Time: 1:00 p.m.
                   25
                                   The Court having reviewed and considered the Stipulation to Continue Hearing Date on
                   26
                        Chapter 7 Trustee's Motion to Approve Compromise Pursuant to Federal Rule of Bankruptcy
                   27
                        Procedure 9019 ("Stipulation") entered into by and between counsel for Half Dental Franchise,
                   28



                        4844-5146-s039
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               1
                   LLC ("Half Dental"), HDM, LLC ("HDM"), Chayse Myers ("Chayse Myers"), and Matt Baker
               2
                   ("Matt Baker" (collectively, the "Çrsdilsrs") and Shelley D. Krohn, Chapter 7 Trustee ("Irus!çs"
               a
               J
                   together with Creditors, the "Pgrtie!") and good cause appearing:
               4
                               IT IS HEREBY ORDERED     that the Stipulation is APPROVED;
               5
                               IT IS FURTHER ORDERED that the hearing on Trustee's Motion to Approve
               6
                   Compromise Pursuant to Federal Rule of Banlcruptcy Procedure 9019 [ECF No. 80] shall be
               7
                   continued from September 28, 2017 to October 2412017 at 1:00 p.m.;
               8
                               IT IS FURTHER ORDERED that the deadline to file     an opposition to the Motion shall
               9
                   be October 10,2017;
              10
                               IT IS FURTHER    ORDERED that the deadline for Trustee to file her reply to any
              l1
        o          opposition and in support of the Motion shall be October 17,2017;
        :
        d
        i     t2
Lrf                            IT IS FURTHER ORDERED that the hearing currently set for the Motion               on
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                   September 28,2017 at 1 1:00 a.m. shall be vacated.
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                   Respectfully submitted,
        å     t7
                   SNELL & WILMER L.L.P
              l8
              t9     /s/ Charles E. Gianelloni
                   Bob L. Olson (NV Bar No. 3783)
              20   Justin L. Carley (NV Bar No. 9994)
                   Charles E. Gianelloni (l'{V Bar No. 12747)
              2l   V.R. Bohman (NV BarNo. 13075)
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                   Telephone : (7 02) 7 84 -5200
              23   Facsimile: (7 02) 7 84-5252

              24          for Half Dental Franchise, LLC,
                   Attorneys
                   HDM, LLC, Chayse Myers, and Matt Baker
              25

              26                                                  ###

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